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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ANIKA EDREI, et al.,

Plaintiffs,

—- against -

CITY OF NEW YORK, et al.,

Defendants.

APPEARANCE S:

Attorneys for Plaintiffs

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(RWS)

OPINION

Corporation Counsel of the City of New York

100 Church Street
New York, NY 10007
By: Ashley Garman, Esq.

   
     
   

 
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Sweet, D.J.

Defendants John Maguire (“Maguire”), Mike Poletto
(“Poletto” and, together with Maguire, the “Officers”), and the
City of New York (“NYC” and, collectively with the Officers, the
“Defendants”}) have moved to stay proceedings before the Court as
to the remaining claims brought by PlaintiffsS Anika Edret
(“Edrei”), Shay Horse (“Horse”), James Craven (“Craven”), Keegan
Stephan (“Stephan”), Michael Nusbaum (“Nusbaum”), and Alexander
Appel (“Appel”) (collectively, the “Plaintiffs”) pending the
outcome of Defendants’ interlocutory appeal on the issue of the
Officers’ qualified immunity defense. As set forth below, the

motion is granted.

Prior Proceedings

 

The factual background and prior proceedings of this matter
have been set forth in the Court’s previous decision granting in
part and denying in part Defendants’ motion to dismiss

Plaintiff’s First Amended Complaint (“FAC”). See Edrei v. City

 

of N.Y., No. 16 Civ. 1652 (RWS), 2017 WL 2367992, at *1-*3
(S.D.N.¥. May 31, 2017). Familiarity is assumed. The following
summary retells portions of prior proceedings as are relevant to

the instant motion.

 
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On March 3, 2016, Plaintiffs commenced this action.
(Dkt. No. 1.) On August 1, 2016, Plaintiffs filed their FAC.
(Dkt. No. 21.) On October 24, 2016, Defendants moved to dismiss
Plaintiffs’ FAC, (Dkt. No. 35), which on May 31, 2017, the Court
granted in part and denied in part, (Dkt. No. 53). Specifically,
the Court denied Defendants’ motion as to Plaintiffs’ claims of
excessive force as to the Officers, municipal liability as to
Nyc for failure to properly train, and state law claims for

assault and battery as to the Officers. (See id., at 40.)

On June 30, 2017, Defendants’ filed notice of an
interlocutory appeal on the issue of the Officers’ qualified

immunity defense. (Dkt. No. 57.)}

On July 5, 2017, Defendants moved to stay all proceedings
before this Court pending resolution of its interlocutory
appeal. (Dkt. No. 58.) On August 2, 2017, Defendants’ instant

motion was heard and marked fully submitted.

Defendants’ Motion to Stay is Granted

In light cf their interlocutory appeal, Defendants’ have

moved to stay all proceedings before this Court as to

 
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Plaintiffs’ claims because of the claims’ factual and legal
interconnectedness. Defendants argue a stay is warranted either
because the issue of the Officers! qualified immunity
automatically divested the Court of jurisdiction pending that
appeal’s resolution or, in the alternative, that Defendants’
interlocutory appeal merits a discretionary stay. Plaintiffs
appear not to argue that while the law supports Defendants’
claim to a point—namely, that this Court has been divested of
jurisdiction as to the Officers’ excessive force claim due to
their appeal regarding federal qualified immunity—such authority

cannot be stretched to the length that Defendants seek.

The collateral order doctrine is an exception to the
generai rule that interlocutory orders are not appealable as a
matter of right; as a general rule, the doctrine is limited to
“trial court orders affecting rights that will be irretrievably

lost in the absence of an immediate appeal.” Richardson-Merrell

 

Inc. v. Koller, 472 U.S. 424, 430-31 (1985). “[O]rder[s]
rejecting the defense of qualified immunity at either the
dismissal stage or the summary judgment stage” are examples of
the limited sort “subject to [interlocutory] appeal.” Betances
v. Fischer, 140 F. Supp. 3d 294, 301 (S.D.N.Y. 2015) (quoting

Behrens v. Pelletier, 516 U.S. 299, 307 (1996)), aff’d, 837 F.3d

 

162 (2d Cir. 2016). The “filing of a notice of appeal only

 
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‘divests the district court of its control over those aspects of

the case involved in the appeal.’” Jin Zhao v. State Univ. of

 

N.Y¥., 613 F. App’x 61, 62 (2d Cir. 2015) (quoting Griggs v.

Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982)). As

 

appeals under the collateral order doctrine are to be, by
definition, “completely separate from the merits of the action,”
such appeals do “not generally divest the district court of
jurisdiction over issues not under consideration in the appeal.”

City of N.Y. v. Beretta U.S.A. Corp., 234 F.R.D. 46, 50

 

(E.D.N.Y. 2006); see also N.Y.S. Nat. Org. for Women v. Terry,

 

886 F.2d 1339, 1350 (2d Cir. 1989) (noting that “the filing of a
notice of appeal only divests the district court of jurisdiction
respecting the questions raised and decided in the order that is

on appeal”).

As a starting point, this authority establishes that a stay
as to Plaintiff’s excessive force claims against the Officers
pending Defendants’ federal qualified immunity claim is merited.

See In re S. Afr. Apartheid Litig., No. 02 Civ. 4712 (SAS), 2009

 

WL 5183832, at *1 (S.D.N.¥. July 7, 2009) (citing Beretta, 234
F.R.D. at 50) (noting that qualified immunity interlocutory
appeals automatically divest district court jurisdiction over

that issue). On this point, Plaintiffs do not argue otherwise.

 
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The surviving state law claims against the Officers should
similarly be stayed. Although Plaintiffs have noted that the
legal requirements as to federal and state qualified immunity
defenses are not identical, at their root, both can turn on the
“reasonableness” of the actions and, as here, Plaintiffs’ state
claims could be heavily connected with “the same facts that form
the heart of the federal claims.” Jones v. Parmley, 465 F.3d 46,

64 (2d Cir. 2006) (citing Simpkin v. City of Troy, 224 A.D.2d

 

897, 898, 638 N.Y.S.2d 231, 232 (3d Dep’t 1996))}) (noting the
relationship between federal and state qualified immunity and
that reasonableness was “at the center of the district court’s
Fourth Amendment excessive force analysis”). As there will
likely be overlap between each of Plaintiffs’ claims, a stay as
to the state law claims against the Officers is therefore also

merited pending resolution of Defendants’ appeal.

The relationship between Plaintiffs’ excessive force
against the Officers and their Monell claims against NYC
warrants a different analysis but reaches the same result.!
Plaintiffs principally argue that, even if claims against the

Officers are automatically divested, the Second Circuit’s ruling

 

i See Monell v. N.Y.C. Dep’t of Soc. Servs., 436 U.S. 658,
690 (1978) (establishing the standards under 42 U.S.C. § 1983
for municipal liability for constitutional torts by employees).

 

 

 
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in Askins v. Doe No. 1, 727 F.3d 248 (2d Cir. 2013), severs the

 

legal connection the appeal’s outcome might have on their Monell
claim. In Askins, the Second Circuit found that even if
defendant officers are entitled to the protection of qualified
immunity, such a finding can be “irrelevant to the liability of
the municipality” because a municipality could still be liable
if it “adoptfed] customs or policies that violate[d] federal law
and result[ed] in tortious violation of a plaintiff's rights,
regardiess of whether it was clear at the time of the adoption
of the policy or at the time of the tortious conduct that such
conduct would violate the plaintiff's rights.” Id. at 254

(quoting Owen v. City of Indep., Mo., 445 U.S, 622, 657 (1980)).

 

Plaintiffs likewise cite Barrett v. Orange Cty. Human Rights
Comm’n, 194 F.3d 341 (2d Cir. 1999), in further support of the
severability of their individual and municipal claims. Id. at
350 (holding that “Monell municipal liability for constitutional
injuries may be found to exist even in the absence of individual
liability, at least so long as the injuries complained of are
not solely attributable to the actions of named individual

defendants”).

While such authority may be of use to Plaintiff in this
action at some later point, it is inapposite at present. Most

importantly, the facts undergirding Plaintiffs’ authority are

 
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substantively different than those present here. In Askins, the
circuit court specifically noted that the district court had
found that there had been no constitutional violation by the
individual officer defendant, but only that he was entitled to
qualified immunity because the actions were reasonable. Askins,
727 F.3d at 252, 255. In Barrett, the circuit court held that
“Moneli municipal liability for constitutional injuries may be
found to exist even in the absence of individual liability, at
least so long as the injuries complained of are not solely
attributable to the actions of named individual defendants,”

Barrett, 194 F.3d at 349.

Such are not the facts here. Plaintiffs have only alleged
the named Officers to have caused Plaintiffs’ injuries, unlike
Barrett, and it remains to be determined whether a
constitutional violation occurred due to the Officers’ actions,
unlike Askins. These are meaningful differences. Whether or not
a constitutional violation occurred is one of the very questions
“under consideration” and before the Second Circuit on appeal.
Beretta, 234 F.R.D. at 50. Moreover, the answer to that question
has the potential to form the basis of the court’s appellate
decision. Were the Second Circuit to find qualified immunity on

the grounds that the Officers did not commit a constitutional

 

violation, there could be no Monell claim. See Curley v. Vill.

 
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of Suffern, 268 F.3d 65, 71 (2d Cir. 2001) (“[Wle have
recognized that a municipality cannot be liable for inadequate
training or supervision when the officers involved in making an
arrest did not violate the plaintiff's constitutional rights”).
As a district court can retain jurisdiction only over
“Ycollateral’ matters not involved in the appeal,” this Court
also cannot maintain jurisdiction over proceedings as to
Plaintiffs’ Monell claim until Defendants’ appeal has concluded.

Garcia v. Bloomberg, No. 11 Civ. 6957 (JSR), 2012 WL 3127173, at

 

*1 (S.D.N.Y. July 27, 2012) (citing Griggs, 459 U.S. at 58).?

 

a As Defendants have established the merits of their motion
under their divestiture argument, consideration of their
discretionary stay arguments need not be undertaken.

 
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Conclusion

For the foregoing reasons, Defendants’ motion to stay
proceedings as to Plaintiffs’ claims pending resolution of their

appeal is granted.
It is so ordered.

New York, NY
August HY 2017 ee Y)

 

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U.S.D.J.

 
